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                                                                     FLAGSTAR BANK, FSB
                                                                 8

                                                                 9

                                                                10                                 UNITED STATES DISTRICT COURT
                                                                11                                          DISTRICT OF NEVADA
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                                                                12                                                   ***
                            Las Vegas, Nevada 89145




                                                                13   AM-GSR HOLDINGS, LLC, a Nevada limited                      CASE NO. 3:17-cv-344-RCJ-VPC
                                                                     liability company,
                                                                14                                                                 JOINT REQUEST TO EXTEND
                                                                                               Plaintiff,                          DEADLINES AND [PROPOSED]
                                                                15                                                                    SCHEDULING ORDER
                                                                                vs.                                                     (FIRST REQUEST)
                                                                16
                                                                     DARREN HUNG TRUONG, and FLAGSTAR
                                                                17   BANK, FSB,

                                                                18                             Defendants.

                                                                19

                                                                20             Plaintiff AM-GSR Holdings, LLC (“Plaintiff”) and Defendant Flagstar Bank, FSB
                                                                21   (“Flagstar”), hereby submit to the Court the following Joint Request to Extend Deadlines and
                                                                22   [Proposed] Scheduling Order pursuant Local Rule 26-4.
                                                                23             1. Procedural History
                                                                24             On June 14, 2017, counsel for the Plaintiff and Flagstar participated in a telephonic
                                                                25   conference to discuss the issues required by LR 26-1(b) and FRCP 26(f).
                                                                26             On June 28, 2017, counsel for Plaintiff and Flagstar filed a Stipulated Discovery Plan and
                                                                27   Proposed Scheduling Order.
                                                                28             On July 3, 2017, Flagstar served its FRCP 26 Initial Disclosures.

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                                                                 1             On July 3, 2017, counsel for Flagstar advised counsel for Plaintiff that Flagstar did not

                                                                 2   have record of having received Plaintiff’s FRCP 26 Disclosures.

                                                                 3             On July 26, 2017, this Court entered its Minutes of Proceedings setting various deadlines

                                                                 4   in the matter.

                                                                 5             On October 13, 2017, Flagstar subpoenaed documents from Alessi & Koenig, LLC.

                                                                 6             On October 19, 2017, Flagstar served its First Supplemental Disclosure of Documents.

                                                                 7             On October 19, 2017, counsel for Flagstar advised counsel for Plaintiff that Flagstar did

                                                                 8   not have a record of having received Plaintiff’s FRCP 26 Disclosures. Counsel for Flagstar

                                                                 9   requested that Plaintiff comply with FRCP 26.

                                                                10             On December 20, 2017, counsel for Flagstar sent notice of Plaintiff’s counsel requesting

                                                                11   a meet and confer due to the fact that Plaintiff had not served its FRCP 26 Disclosures.
                    TEL: (702) 362-7800 / FAX: (702) 362-9472
KOLESAR & LEATHAM
                      400 S. Rampart Boulevard, Suite 400




                                                                12             On December 27, 2017, counsel for Flagstar sent a second request to Plaintiff’s counsel
                            Las Vegas, Nevada 89145




                                                                13   for a meet and confer due to the fact that Plaintiff had not served its FRCP 26 Disclosures.

                                                                14             On December 30, 2017, counsel for Plaintiff served its FRCP 26 Initial Disclosures and

                                                                15   agreed to continue discovery to address the prejudice to Flagstar.

                                                                16             As such, the parties request that this Court enter an order extending the discovery cut-off

                                                                17   in this case.       It is respectfully submitted that Flagstar’s attempts to address Plaintiff’s

                                                                18   noncompliance without involving this Court by filing a Motion, constitutes good cause to extend

                                                                19   the deadlines.

                                                                20             2. Information Required by LR-26-4
                                                                21                  A. Discovery completed:
                                                                22             As required by Federal Rule of Civil Procedure 26(f) and Local Rule 26-1(d), a 26(f), on
                                                                23   June 14, 2017, counsel for the Plaintiff and Flagstar participated in a telephonic conference to
                                                                24   discuss the issues required by LR 26-1(b) and FRCP 26(f).
                                                                25             On July 3, 2017, Flagstar served its FRCP 26 Initial Disclosures.

                                                                26             On October 13, 2017, Flagstar subpoenaed documents from Alessi & Koenig, LLC.

                                                                27             On October 19, 2017, Flagstar served its First Supplemental Disclosure of Documents.

                                                                28             On December 30, 2017, counsel for Plaintiff served its FRCP 26 Initial Disclosures and

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                                                                 1   agreed to continue discovery to address the prejudice to Flagstar.

                                                                 2                  B. Discovery that remains to be completed:
                                                                 3             Counsel for Flagstar anticipates deposing an FRCP 30(b)(6) designee for Plaintiff and the

                                                                 4   FRCP 30(b)(6) designee for Grand Sierra Resort Unit-Owners’ Association and then filing a

                                                                 5   Motion for Summary Judgment.

                                                                 6                  C. Reasons why deadlines should be extended
                                                                 7             As discussed above, counsel for Flagstar made several attempts to address Plaintiff’s

                                                                 8   noncompliance with FRCP 26, without involving this Court by filing a Motion. New counsel for

                                                                 9   the Plaintiff is now involved in this action and is working in good faith to comply with this

                                                                10   Court’s discovery rules.

                                                                11                  D. Proposed schedule:
                    TEL: (702) 362-7800 / FAX: (702) 362-9472
KOLESAR & LEATHAM
                      400 S. Rampart Boulevard, Suite 400




                                                                12                        a. Discovery Cut-Off Date. The cut-off for completion of discovery will be
                            Las Vegas, Nevada 89145




                                                                13                            April 27, 2018.
                                                                14                        b. Amending the Pleading and Adding Parties. The last date for filing a
                                                                15                            motion to amend the pleadings or add parties has expired.

                                                                16                        c. Expert Disclosures. The last date for filing a motion to amend the
                                                                17                            pleadings or add parties has expired.

                                                                18                        d. Dispositive Motions. Dispositive motions shall be filed thirty (30) days
                                                                19                            after the completion of discovery on May 28, 2018.
                                                                20                        e. Motion in Limine. Pursuant to L.R. 16-3(b), any motions in limine shall
                                                                21                            be filed and served thirty (30) days prior to the commencement of trial and
                                                                22                            oppositions shall be served fourteen (14) days thereafter. Reply briefs will
                                                                23                            only be allowed by leave of the court.
                                                                24                        f. Joint Pretrial Order. The Joint Pretrial Order shall be filed by June 27,
                                                                25                            2018, if no dispositive motions are filed. If any dispositive motions are
                                                                26                            filed, the Joint Pretrial Order shall be filed within thirty (30) days after the

                                                                27                            last decision on the merits.

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                                                                 1                          g. Anticipated Length of Trial. The parties anticipate the length of the trial
                                                                 2                              to be two (2) days.

                                                                 3                  E. Interim Status Report. The parties shall file an interim status report sixty (60)
                                                                 4                       days before the discovery cut-off on February, 2018.
                                                                 5                  F. Extensions or Modifications of the Discovery Plan and Scheduling Order.
                                                                 6             Any further stipulation or motion for modification or extension of this discovery plan and

                                                                 7   scheduling order must be supported by a showing of good cause for the extension and must be

                                                                 8   made no later than twenty-one (21) days before the expiration of the subject deadline.

                                                                 9   Dated this 8th day of January, 2018                      Dated this 8th day of January, 2018

                                                                10   COHEN JOHNSON PARKER EDWARDS                             KOLESAR & LEATHAM
                                                                11
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                                                                12
                                                                     By:/s/ H. Stan Johnson                                   By: /s/ Brittany Wood
                            Las Vegas, Nevada 89145




                                                                13   H. Stan Johnson, Esq.                                    Aaron R. Maurice, Esq.
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                                                                17   Attorney for Plaintiff                                   Facsimile: (702) 362-9472
                                                                                                                              amaurice@klnevada.com
                                                                18                                                            bwood@klnevada.com
                                                                19                                                            Attorneys for Defendant Flagstar Bank, FSB

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                                                                21

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                                                                23                                                    IT IS SO ORDERED:

                                                                24
                                                                                                                      ____________________________________
                                                                25                                                    UNITED STATES MAGISTRATE JUDGE
                                                                26                                                    DATED:____________________________
                                                                27

                                                                28

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                                                                 1                                    CERTIFICATE OF SERVICE
                                                                 2             I hereby certify that I am an employee of Kolesar & Leatham, and that on the 8th day of

                                                                 3   January, 2018, I caused to be served a true and correct copy of foregoing JOINT REQUEST
                                                                 4   TO EXTEND DEADLINES AND [PROPOSED] SCHEDULING ORDER in the following
                                                                 5   manner:

                                                                 6             (ELECTRONIC SERVICE) Pursuant to Rule 5-4 of the Local Rules of Civil Practice of

                                                                 7   the United States District Court for the District of Nevada, the above-referenced document was

                                                                 8   electronically filed on the date hereof and served through the Notice of Electric Filing

                                                                 9   automatically generated by that Court’s facilities.

                                                                10             (UNITED STATES MAIL) By depositing a copy of the above-referenced document for

                                                                11   mailing in the United States Mail, first-class postage prepaid, at Las Vegas, Nevada, to the
                    TEL: (702) 362-7800 / FAX: (702) 362-9472
KOLESAR & LEATHAM
                      400 S. Rampart Boulevard, Suite 400




                                                                12   parties listed below at their last-known mailing addresses, on the date above written:
                            Las Vegas, Nevada 89145




                                                                13             Darren Hung Truong
                                                                               PO Box 610444,
                                                                14             San Jose, CA 95161

                                                                15

                                                                16                                                         /s/ Susan Owens
                                                                                                                           An Employee of KOLESAR & LEATHAM
                                                                17

                                                                18

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